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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

(Northern Division)
UNITED STATES OF AMERICA )
Vv. Crim. No. TEJ-17-0506
ISABEL FITZGERALD, et al., 5
Defendants. }

 

THE GOVERNMENT’S MOTION IN LIMINE TO EXCLUDE EVIDENCE OF
OTHER UNRELATED GOOD ACTS OR NONCRIMINAL PERFORMANCE BY
DEFENDANT FITZGERALD OF HER OFFICIAL STATE GOVERNMENT

RESPONSIBILITIES BETWEEN 2011 AND 2014

The United States of America, by its undersigned counsel, hereby files the
following motion to exclude evidence that the defense may seek to introduce at trial
concerning other good acts or examples of legitimate, noncriminal performance of her
official duties by defendant Isabel FitzGerald in her various positions with the Maryland
State Government between 2011 and 2014. In particular, the government anticipates
that defendant FitzGerald’s counsel may seek to present evidence relating to her
performance when she assisted Carolyn Quattrocki, the Director of the Maryland Health
Benefits Exchange (MHBE), in the effort to redesign and bring online the Maryland
state Health Insurance Exchange (HIX) website between December 2013 and November
2014.

However, defendant FitzGerald’s work in connection with the redesign of the
previously failed Maryland HIX is not the subject of any of the charges brought against
her in the superseding indictment. The indictment instead deals with her management
of the Hosting and Applications contracts between the Maryland Department of Human

Resources (MDHR) and state contractor ACS/Xerox between 2011 and 2014.

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Testimonial or documentary evidence relating to FitzGerald’s performance during the
HIX redevelopment effort would therefore shed no light on whether she is guilty of the
unrelated crimes involving the Hosting and Applications contracts that are the subject
of the pending indictment. Rather, it would constitute improper “other good acts”
evidence (sometimes referred to as “reverse” Rule 404(b) evidence). Admission of
evidence relating to FitzGerald’s performance in connection with the HIX redesign
project or other matters unrelated to the charges set forth in the indictment here would
further violate Federal Rules of Evidence 401 (because it is not relevant), 403 (because it
would confuse the issues, mislead the jury, cause undue delay, and waste time), and
404(a)(1) and 405 (because it is not a proper or authorized way of presenting evidence
of good character). And the courts in public corruption (and other types of fraud cases)
have consistently recognized that evidence of other unrelated good acts by a defendant
are not relevant to prove that he or she did not commit criminal acts or have criminal
intent with respect to other unrelated transactions charged in an indictment. Thus, if
FitzGerald seeks to offer evidence of this kind, it should be excluded pursuant to all of
these rules, and based as well upon the Court’s authority pursuant to FED. R. EvID.

611(a)(2).

RELEVANT FACTS
A. The Facts Underlying the Charges in the Indictment
The superseding indictment in this case charges that over a roughly three-year
period starting in the fall of 2011, defendant FitzGerald and defendant Kenneth
Coffland, another state contractor with whom FitzGerald was romantically involved,

received and were promised a stream of financial benefits from The Consultants
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Consortium (TCC), an information technology (IT) services company that was a
subcontractor on two large IT contracts that the Maryland Department of Human
Resources (MDHR) had issued to ACS/Xerox, which are respectively referred to in the
superseding indictment as the Hosting Contract and the Applications contract.
Superseding Indictment (ECF # 75) at pages 4-5. The indictment charges that in return
for these benefits, FitzGerald took various actions while working for the state that
benefitted TCC. The remaining two defendants in this case, Steven Maudlin and James
Pangallo, were respectively the Chief Executive Officer (CEO) and Chief Financial
Officer (CFO) of TCC, and each also owned a one-third interest in the company. Jd. at
pages 7-17, 19-21.

More specifically, the indictment charges that beginning while FitzGerald held
the position of “Executive Consultant” to the MDHR Secretary from November 2011
through December 2012, TCC agreed to pay her the profits it received for the services of
one contractor who worked on the Applications contract, and another contractor who
worked on an Indiana contract, as well as one-third of TCC’s profits on specified
subcontracts that TCC had obtained from ACS/Xerox as a result of FitzGerald’s exercise
of her influence and authority at MDHR. These payments were made to a consulting
company named Aeon that FitzGerald had established, but FitzGerald did not disclose
these payments to the other state officials with whom she worked. ECF # 75, Count
One, {Is 19-22 (pages 7-8). Once FitzGerald reassumed the status of a full-time state
employee in November 2012 when she became MDHR’s Deputy Secretary of
Operations, FitzGerald arranged for the payments she had been receiving from TCC for
one of these contractors to instead go to a consulting company established by defendant

Coffland, although this arrangement only continued for a short time. ECF # 75, Count

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One, {ls 23-26 (page 8). In return for these payments, the indictment charges that
FitzGerald took the official actions detailed in Count One, fs 29-32. These included
causing ACS/Xerox to issue a task order to TCC that had no specified work obligations
in the approximate amount of $253,000 by threatening to use her influence to cause the
MDHR Secretary and the Acting MDHR CIO to withhold funding approval of the
another major project that was important to ACS/Xerox unless it complied with her
demand. She also caused ACS/Xerox to give a fixed price subcontract to TCC worth
approximately $23.72 million over six years by threatening to use her influence to cause
MDHR not to renew the Hosting Contract with ACS/Xerox if it did not comply. Finally,
the indictment charges that FitzGerald also compelled ACS/Xerox to hire defendant
Coffland as the Hosting Director on the Hosting Contract, a position for which Coffland
demanded that he be paid an annual salary and potential bonuses totaling some
$500,000 — a figure that far exceeded what the previous incumbents in that position
had been paid. Id.

Thus, the indictment focuses exclusively on the relationships between FitzGerald
and Coffland, on the one hand, and TCC, Maudlin, and Coffland on the other, from
approximately October 2011 through the end of 2014. The benefits that Coffland and
FitzGerald received or were promised from TCC all derived from the performance of the
Hosting and Applications contracts that ACS/Xerox held with the state of Maryland, on
each of which TCC was a subcontractor. The indictment does not charge criminal
conduct by FitzGerald relating to any other state contractor or any other state contract

other than the Applications and Hosting contracts that ACS/Xerox held with MDHR.
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B. Defendant FitzGerald’s Positions with the Maryland State
Government between late 2011 and the Fall of 2014, and her

Responsibilities in 2014 with regard to the MHBE/HIX

As the indictment states (ECF # 75, Count One, { 4) and the discussion above
reflects, FitzGerald held a series of positions with the Maryland State Government
between 2011 and 2014:

° Chief Information Officer (CIO) of MDHR (February 2007 through
mid-October 2011);

° Executive Consultant to the Secretary of MDHR and a private
consultant who otherwise mainly provided services to Montgomery
County (November 2011 through December 2012);

° Deputy Secretary of Operations of MDHR (December 2012 through
late August 2013);

. Secretary of the Maryland Department of Information
Technology (MDoIT) and Chief Information Officer (CIO) for
the Maryland state Government (Late August 2013 through late
December 2014).

The MHBE/HIX was the state health care insurance exchange established by the
Maryland legislature in response to the passage of the federal Affordable Care Act
(ACA), popularly known as “Obamacare,” in early 2009. Like its federal counterpart,
Maryland’s on-line health insurance exchange was originally supposed to go “live” in the
fall of 2013, but the website proved to be completely dysfunctional. Defendant
FitzGerald, who had been confirmed as the Secretary of the Department of Information
Technology (DoIT), a few months earlier, was tasked by then Governor Martin O’Malley
in late 2013 with leading the effort to get new version of the state health benefits
exchange up and running. This was accomplished and the new system went online in

November 2014. It is fair to say that defendant FitzGerald received substantial public

credit for the success of the effort to correct the original deficiencies of the Maryland
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HIX and to get the system online and operational in November 2014, including being
named by the BALTIMORE SUN as one of finalists for its “Marylander of the Year” award
for 2014.

But the MHBE or the HIX plays no part in the charges returned by the Grand
Jury in the superseding indictment. There are no allegations in the indictment relating
to it. Indeed, the names “Maryland Health Benefit Exchange” or “Health Insurance
Exchange” (or their abbreviations) never appear in the indictment.

Nevertheless, in the run-up to the previously scheduled trial date in this matter in
the winter of 2019, defendant FitzGerald’s counsel identified as potential exhibits a
substantial volume of documents relating to her work on the HIX redesign project
between late 2013 and the November 2014. The government submits that these
documents, as well as any testimony relating to the nature and quality of FitzGerald’s
work on the HIX redesign project, have no relevance to whether FitzGerald is guilty or
innocent of the charges set forth in the indictment here, which relate to her relationship
with TCC and her exercise of her authority over ACS/Xerox in connection with its
performance of the Applications and Hosting contracts. Thus, if defendant FitzGerald’s
counsel does try to bring evidence relating to the HIX redesign or other unrelated
projects she supervised before the jury at this trial, it appears to the government that
this may be for the collateral (and improper) purpose of suggesting that she was a highly
competent public official whose work produced substantial benefits for the citizens of
the State of Maryland, thereby perhaps encouraging some jurors to feel that her
accomplishments elsewhere should cause her criminal actions here to be overlooked.
See, e.g., United States v. Carr, 424 F.3d 213, 220 (2d Cir. 2005) (rejecting the idea that

“in a society committed to the rule of law, jury nullification is desirable or that courts

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may permit it to occur when it is within their authority to prevent”), quoting United
States v. Thomas, 116 F.3d 606, 614 (2nd Cir. 1997).

But whether FitzGerald performed well on the HIX redesign project, or on any
other project on which she worked over the three-year period between late 2011 and late
2014, is simply not relevant to the question of her guilt or innocence on the specific
charges presented by the indictment here. The indictment does not charge her with
being a bad or incompetent public official across the board; rather, she is charged with
violating the law through specific actions that she took as a state agent and official
between 2011 and 2014 that related to the Applications and Hosting contracts, and to
ACS/Xerox’s work as the prime contractor and TCC’s work as a subcontractor on those
contracts. Evidence of her performance outside this context is thus not relevant to her
guilt or innocence with respect to the charges brought here, but rather appears to be an
effort to bring before the jury improper character evidence in a way that is not
authorized by the Federal Rules of Evidence, or to distract the jury's attention from the
evidence that does actually relate to the transactions involving the Hosting and
Applications contracts that are the basis for the charges set forth in the indictment.

Moreover, this is already a complex and involved case as it is, with an estimated
trial length of approximately four weeks. Exploring various rabbit holes or embarking
upon mini-trials relating to the HIX or other projects that FitzGerald worked on or
supervised during the three years between 2011-2014 will further prolong and
complicate this trial. Even worse, the presentation of evidence about other contracts
and projects that have no connection to the Hosting and Applications contracts is likely
to distract and confuse the jury, making it more difficult for them to focus on and

understand the lengthy and involved series of events to which the charges brought in the

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superseding indictment actually relate. For these reasons, this Court should limit the
presentation of the evidence at the trial of this case to matters relating to the particular
contracts and transactions that are the subject of the charges set forth in the

indictment.

ARGUMENT

THE FEDERAL RULES DO NOT PERMIT A DEFENDANT TO

INTRODUCE EVIDENCE OF OTHER UNRELATED “GOOD

ACTS” FOR THE PURPOSE OF SUGGESTING THAT HE OR SHE

WOULD NOT HAVE COMMITTED THE CRIMES CHARGED IN

THE INDICTMENT

It is well-settled that a defendant may not produce evidence of specific instances
of law-abidingness in order to show his good character unless “law-abidingness was an
essential element of the charge or defense” under FED. R. EVID. 405(b), which is not the
case here. United States v. Hill, 40 F.3d 164, 168-69 (7th Cir. 1994) (in a prosecution of
a postal employee for mail theft, evidence that the defendant did not take “test letters”
on another occasion was properly held inadmissible because the defendant could not
establish that law-abidingness was an essential element of the charge or his defense
under Rule 405(b)); United States v. Camejo, 929 F.2d 610, 613 (11th Cir. 1991)

(testimony concerning defendant’s refusals to join a drug trafficking conspiracy on

another occasion was not relevant under Rule 405(b) and was inadmissible under Rule

 

1 Of course, if defendant FitzGerald is convicted on any of the charges brought against
her in this indictment, she would of course be entitled to present evidence of her other
positive accomplishments in mitigation as part of the subsequent sentencing proceeding
in this matter. See. e.g., 18 U.S.C. § 3661 (“No limitation shall be placed on the
information concerning the background, character, and conduct of a person convicted of
an offense which a court of the United States may receive and consider for the purpose
of imposing an appropriate sentence.”); § 3553(a)(1) (in fashioning an appropriate
sentence, the district court shall consider “the history and characteristics of the
defendant” along with the other factors enumerated in the Sentencing Reform Act).

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404(b) because “Evidence of good conduct is not admissible to negate criminal intent.”);
United States v. O'Connor, 580 F.2d 38, 43 (2nd Cir. 1978) (proffered evidence that
government meat plant inspector had not taken bribes on other occasions was
inadmissible “because such testimony would in effect be an attempt to demonstrate
appellant’s good character by proof of specific acts”); United States v. Cleveland, 1997
WL 253124, at *2 (E.D. La. May 14, 1997) (trial court excluded evidence that public
official had acted in conformity with the law on other occasions not addressed by the
charges because “a defendant may not seek to establish his innocence ... through proof
of the absence of criminal acts on specific occasions”), quoting United States v. Scarpa,
897 F.2d 63, 70 (2nd Cir. 1990).

After all, relatively few defendants who are charged in federal public corruption
cases or other white-collar criminal prosecutions spend substantially all of their time
committing crimes. Particularly in public corruption cases like this one, the defendants
may well be high-profile and respected members of their communities. They are often
high-functioning individuals who have significant legitimate accomplishments and good
deeds to their credit — assisting constituents in dealing with government agencies;
building businesses that have created jobs for their employees; and contributing time
and expertise to charities, churches, and other communal activities. Such defendants
typically commit their offenses in response to particular temptations or opportunities,
or in response to particular stresses or pressures, typically economic or financial in
character. Their criminal acts are often highly situational and may in some be cases
downright aberrational.

Even where this is not the case, and a corrupt public official commits crimes with

regularity, the duties associated with their positions will often call upon them to take

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actions that are consistent with their public responsibilities and that produce benefits
for their fellow citizens. Self-interest may also dictate that a crooked public official
confine their lawbreaking to circumstances where the rewards are particularly lucrative
and the chances of detection are reasonably low.

These considerations have repeatedly prompted courts to recognize that an
indicted politician’s or government official’s ability to point to other circumstances
where they properly exercised their public responsibilities, or where their actions
produced benefits or constructive results for constituents or the citizenry at large, are of
no probative value in determining whether they committed crimes on other occasions
when the calculus of risk and reward was completely different.

Thus, in United States v. Russell, 703 F.2d 1243 (11th Cir. 1983), a Florida
country commissioner (Russell) who was charged with helping to facilitate a narcotics-
smuggling conspiracy sought to present testimony from a witness concerning specific,
but unrelated, good acts to prove that “he was a good county commissioner.” The
district court refused to permit that testimony and the court of appeals readily agreed,
finding that “Evidence of noncriminal conduct to negate the inference of criminal
conduct is generally irrelevant.” Id. at 1249, quoting United States v. Grimm, 568 F.2d
1136, 1138 (5th Cir. 1978). Russell also sought to introduce evidence through another
witness that he had discussed performing undercover work as a government agent and
had provided government agents with information helpful in solving a homicide. The
district court rejected that testimony on the ground that it involved a collateral matter
and was excludable pursuant to FED. R. EvID. 608(b), a ruling that the court of appeals

likewise sustained. Id.

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Similarly, in United States v. Washington, 106 F.3d 983 (D.C. Cir. 1997), a police
officer charged with corruptly offering to protect drug trafficking activity who was
ensnared in an FBI sting sought to have evidence admitted under FED. R. EVID. 405(b)
“of several commendations he had received for his work on the police force,” contending
that this would allow him “to rebut the instances of alleged criminal activity raised by
the government... .” Id. at 999. The district court held that admission of this evidence
was authorized under neither Rules 404(a) nor 405, and the court of appeals held that it
had “acted well within its discretion when it excluded the evidence at issue here.” The
D.C. Circuit declared that

the commendations were not admissible under either Rule because

appellant’s ‘dedication, aggressiveness, and assertiveness’ in investigating

drug dealing and carjacking is neither ‘pertinent’ to nor an ‘essential

element’ of his supposed lack of predisposition to engage in the corrupt

criminal activity with which he was charged.

Id. See also United States v. Navarro, 889 F.2d 1158, 1168 (1st Cir. 1989) (ruling that
the district court properly excluded evidence of a prior commendations received by a
police officer charged with conspiracy to commit mail fraud and perjury because “the
traits which they purport to show — bravery, attention to duty, perhaps community
spirit — were hardly ‘pertinent’ to the crimes of which Navarro stood accused”).

More recently, in United States v. Nagin, 2013 WL 5532516 (E.D.La. Oct. 4,
2013), a prosecution involving former New Orleans mayor Ray Nagin, the government
filed a pre-trial motion in limine to exclude “‘good deed’ evidence, references, or
inferences by the defense.” Id. at *1. After reviewing the parties’ respective
submissions, the district court noted that it “disagree[d] with the defense that “the issue

of the defendant’s good deeds ‘is at the very core of the government’s charges,” and also

that it “disagree[d] that there is a relevant issue whether the defendant ever provided

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honest services ‘during his tenure’ as mayor, as argued by the defense.” Id. The court
concluded by noting that before a defendant can be allowed to offer evidence of a
purportedly pertinent character trait by reputation or opinion, he or she must
“articulate[] what character traits would be arguably admissible as an essential element
of a charge, claim or defense for purposes of Fed. R. Evid. 405(b)” — and this the defense
had not yet done. Id.

The same applies with respect to “other good deeds” evidence proffered by
defendants who are businessmen, professionals, or corporate officials. Thus, in United
States v. Marrero, 904 F.2d 251 (5th Cir. 1990), a psychologist who was charged with
submitting false medical insurance claims to CHAMPUS sought to introduce evidence at
her trial “which showed that she provided more services to some clients than they were
actually billed for and that sometimes she rendered services free of charge.” Id. at 259.
She further sought to introduce a patient survey showing that out of a sample of 99
patients who were asked to review their bills as submitted by her practice, 77 attested to
the accuracy of their bills. Id. at 260. The Fifth Circuit found that the district court had
properly excluded both categories of evidence:

Marrero’s character in this case was simply not an essential element of the

charges against her. Moreover, with respect to Marrero’s defenses of lack

of intent and lack of motive, Marrero sought at trial to use specific acts

circumstantially to prove lack of intent. Such a tactic is not only

disfavored, it is not permitted under Rule 405(b). Additionally, the

evidence of specific acts of good character which Marrero sought to admit

into evidence was irrelevant to the charges contained in the indictment.

The fact that Marrero did not overcharge in every instance in which she

had an opportunity to do so is not relevant to whether she, in fact,

overcharged as alleged in the indictment.

Id. (citations omitted). See also United States v. Langford, 647 F.3d 1309, 1329 (11th

Cir. 2011) (holding that district court properly excluded evidence intended to

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demonstrate the defendant’s “generous and philanthropic character”); United States v.
Gravely, 840 F.2d 1156, 1164 (4th Cir. 1988) (evidence of defendant’s prior charitable
work with the March of Dimes was properly excluded by the trial court because “Unless
evidence of character is an essential element of a charge, claim, or defense, proof of
character is limited to general good character (reputation as a good person and law
abiding citizen.”) United States v. Yida, 643 F.2d 348, 352 (5th Cir. Unit A 1981)
(evidence of defendant’s prior accumulation of wealth provided no defense to bribery or
mail fraud charges).

In the leading case of United States v. Grimm, 568 F.2d 1136 (5th Cir. 1978),
defendant Grimm, a vice-president at the Bank of Carroll County (BoCC), had been
bribed by a used car dealer (Holder) who was using sight drafts drawn on BoCC to
purchase used cars from dealers in the mid-Atlantic and upper Midwest which he then
transported to the south and re-sold without paying the sight drafts. Grimm sought to
introduce in evidence 75 drafts for the purchase of other used cars by Holder that he had
honored, presumably in an attempt to demonstrate that he had acted in good faith. The
court of appeals readily sustained the trial court’s decision to exclude this evidence,
stressing that

Evidence of noncriminal conduct to negate the inference of criminal

conduct is generally irrelevant. The drafts are simply cumulative of

Holder’s undisputed testimony that he had paid other drafts. The

admission of the 75 drafts could have complicated the case and confused

the jury.

Id. at 1138.
Likewise, in United States v. Doyle, 130 F.3d 523 (2nd Cir. 1997), a businessman

charged with the illegal exportation of protected technology to Libya sought to call

witnesses to show that he had passed along information about the Libyan military to

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Army intelligence officers, arguing that “those acts indicate that he would not knowingly
act contrary to American policy towards Libya.” Id. at 541-42. The Second Circuit
agreed with the trial court that “Doyle’s past co-operation with army intelligence had no
bearing on the crimes charged, or that any probative value was substantially outweighed
by the risk of confusing the jury.” Id. at 542. The Court further held that proof of
Doyle’s specific earlier acts was also not admissible under Rule 405(b). Id.

Finally, in United States v. Molovinsky, 688 F.2d 243 (4th Cir. 1982), the
defendant in a counterfeiting prosecution sought to show that on previous occasions he
has likewise explored various “improbable and far-fetched, if legal, money-making
schemes” to supplement his regular pursuits as both an attorney and a magician. The
district court excluded the testimony and the Fourth Circuit affirmed, emphasizing that:

The important consideration is that no efforts to break or objectives of

breaking the law were involved in those schemes. To have allowed a

meandering journey down such collateral paths would have distracted the

jury from relevant evidence of the counterfeiting scheme itself, which was

illegal. The district judge acted well within his discretion and did not

abuse it in preventing the introduction of such collateral testimony.

Id. at 247, also citing and quoting Grimm, 568 F.2d at 1138 (“Evidence of noncriminal
conduct to negate the inference of criminal conduct is generally irrelevant.”). The
concern the Fourth Circuit expressed in Molovinsky with the distraction and diversion
of trial time and jurors’ attention that can result from admitting collateral evidence of
other unrelated “good acts” is particularly apposite here with respect to FitzGerald’s
direction of the HIX redesign effort.

That FitzGerald performed her assigned responsibilities appropriately on many

or even most days of her career in Maryland state government, or that she made a

substantial contribution to getting the HIX operational and online over the course of

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2014, similarly tells us nothing about whether she committed the corrupt acts charged
in the indictment with respect to the Hosting and Applications contracts held by
ACS/Xerox. On those occasions when she did not abuse her position to advance her
personal interests and those of her paramour and favorite Kenneth Coffland, she was
doing what she was hired and paid to do, and what her superiors (and the citizens of
Maryland) expected her to do. Her noncriminal actions on those occasions tell us
nothing about her state of mind and criminal intent when she saw the opportunity to
advance her interests, and those of Kenneth Coffland and TCC, by misusing her

authority over the Applications and Hosting contracts.

CONCLUSION
Accordingly, for the reasons stated above, the Court should preclude the defense

from introducing testimonial or documentary evidence concerning other, unrelated
good deeds or examples of effective administrative performance by defendant
FitzGerald that have no bearing on the facts relating to her management and oversight
of the Applications and Hosting contracts between MDHR and ACS/Xerox that are the
subject matter of the superseding indictment.

Respectfully Submitted,

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